             Case 1:21-cr-00028-APM Document 272 Filed 07/01/21 Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                        *
vs.                                                  *   Case No.: 21-CR-28-APM
THOMAS E. CALDWELL                                   *
         *       *       *       *       *       *       *      *       *       *       *
         CONSENT MOTION TO EXTEND TIME TO FILE PRETRIAL MOTIONS

         COMES NOW, the Defendant, Thomas E. Caldwell, by and through his attorney, David

W. Fischer, Esq., and respectfully requests that the Court extend the time for filing pretrial

motions for 60 days, and in support of said motion states as follows:

      1. The Government consents to the present request.

      2. At the last Status Hearing, the Court set a deadline of July 1, 2021 for the filing of pretrial

         motions pursuant to Fed. R. Crim. P. Rule 12(b).

      3. Since the last hearing, the Government has continued to produce voluminous discovery,

         including hundreds of FBI files, videos, social media files, and other materials.

      4. A number of the motions to be filed in this case involve complex issues that require

         challenges that cannot be adequately addressed without review of the additional

         discovery.

      5. The expansion of the conspiracy to include a total of 16 defendants, a number of

         unnamed individuals, and at least one defendant charged in a separate indictment, who is

         alleged to be a member of the Oath Keepers, has also increased the time necessary to

         review discovery.
         Case 1:21-cr-00028-APM Document 272 Filed 07/01/21 Page 2 of 2




   6. Despite due diligence, counsel has been unable to review all the discovery, fully research

       the issues, and prepare the necessary motions.

       WHEREFORE, the Defendant respectfully requests that the Court extend the time for

filing pretrial motions for 60 days to and including September 1, 2021.




                                                              /s/
                                                    David W. Fischer, Esq.
                                                    Federal Bar No. 023787
                                                    Law Offices of Fischer & Putzi, P.A.
                                                    Empire Towers, Suite 300
                                                    7310 Ritchie Highway
                                                    Glen Burnie, MD 21061
                                                    (410) 787-0826
                                                    Attorney for Defendant




                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 1st day of July, 2021, a copy of the foregoing Consent
Motion to Extend Time to File Pretrial Motions was electronically filed with the Clerk of the
United States District Court using CM/ECF, with a notice of said filing to the following:

Counsel for the Government:                  Office of the United States Attorney
                                             555 4th Street, NW
                                             Washington, DC 20001

                                                            /s/
                                                    David W. Fischer, Esq.
